                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF W ISCONSIN


UNITED STATES OF AMERICA,

                     Plaintiff,

              v.                                        Case No. 14-CR-99

DEVON HOW ARD,

                     Defendant.


  DECISION AND ORDER SUSTAINING OBJECTION TO MAGISTRATE JUDGE’S
     RECOMMENDATION, REJECTING IN PART AND ADOPTING IN PART
RECOMMENDATION (DOC. 108), AND DENYING MOTION TO SUPPRESS (DOC. 18)

       Devon Howard, one of several defendants in this case, moves to suppress evidence

obtained by the government after Howard’s arrest.      Following an evidentiary hearing,

Magistrate Judge Patricia J. Gorence recommended that this court find that Howard was

arrested without probable cause but that the motion be denied based on the inevitable

discovery doctrine. The United States objects to the recommendation regarding lack of

probable cause for arrest, while Howard has objected to the recommendation as to

inevitable discovery and the ultimate ruling. This court held a second evidentiary hearing

and allowed supplemental briefing.

       Although a magistrate judge has authority to decide many motions, for a motion to

suppress evidence a magistrate judge          may only propose findings and make

recommendations; the ultimate decision is for the district judge. 28 U.S.C. § 636(b)(1)(A),

(B); Fed. R. Crim. P. 59(b)(1).      The district court judge must review de novo the

recommendations of the magistrate judge to which a party timely objects. 28 U.S.C.

§ 636(b)(1)(C); Fed. R. Crim. P. 59(b)(2), (3). Portions of a recommendation to which no




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party objects are reviewed for clear error. Johnson v. Zema Sys. Corp., 170 F.3d 734, 739

(7th Cir. 1999). The clear error standard means that the court can overturn the magistrate

judge’s ruling only if it is left with the definite and firm conviction that a mistake has been

made. Weeks v. Samsung Heavy Indus. Co., 126 F.3d 926, 943 (7th Cir. 1997).

        The parties have not objected to Magistrate Judge Gorence’s proposed findings of

fact as stated, except that Howard contends that they are incomplete. Moreover, neither

party objects to Magistrate Judge Gorence’s recitation of law. In different ways both parties

object to Magistrate Judge Gorence’s application of that law to the facts. Therefore, as

discussed below, the court adopts the proposed findings and recitation of law, with

supplementation.

                                     PROBABLE CAUSE FOR ARREST

        On April 4, 2014, a Verizon W ireless store on Sumner Street in Hartford, W isconsin,

was robbed at gunpoint. (1 Tr. 4-5, 41.1 ) Hartford Police Department (HPD) Sergeant

Timothy Hayes responded to the store after a call came in about 11:46 a.m., and was the

first officer on the scene. (1 Tr. 39.) The store is located in a corner of a strip mall. (1 Tr.

40; Exs., 1, 2.) Hayes spoke to two witnesses: store employee Eric Safranski and a

customer named Marshall Retler. The witnesses stated that a man had come in from the

rear of the building, threw a black duffle bag on the ground, and said he wanted phones.

(1 Tr. 40-41.) Initially, Safranski thought it was a joke, but the man pulled out a pistol,

cocked it, ordered the two men to a part of the store where the phones were located, and




1 The transcript from the first evidentiary hearing (held by Magistrate Judge Gorence) is referenced as "1 Tr."
The transcript from the second evidentiary (held by this court) is referenced as "2 Tr."

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told them to put the phones into the duffle bag. (1 Tr. 41, 48-49.) The witnesses described

the robber as a black male, about 6’3”, and skinny, about 150 pounds. (1 Tr. 40, 43, 48.)

       Prior to the robbery, Safranski and Retler observed a tan Mercedes in front of the

store. According to Hayes, the two witnesses

              Said that shortly before the robbery took place there was a tan
       Mercedes that was in front of the store with two subjects inside; and they
       appeared – in their opinion were watching them, watching the store.
              The individuals in the car do not go into any of the stores. They simply
       stayed and watched the store.
              After doing this for a few minutes, the Mercedes drove to the rear of the
       building out of their sight.
              And shortly after they went back there, the individual came up and
       robbed the store.

(1 Tr. 42.) The witnesses stated that after the store was robbed and the robber had fled out

the back door, the robber ran in a direction to the left of the Mercedes and probably would

not have been able to get in the vehicle. (1 Tr. 45, 49-50.) The Mercedes then came “flying

from the back – one said zoomed at a high rate of speed and went onto Sumner Street.”

(1 Tr. 42.) Safranski commented that “he thought that this vehicle was some sort of decoy,

getting the attention away from the actual robber where he was going after he committed

the robbery.” (1 Tr. 45, 51 (indicating that Safranski gave Hayes his opinion that the

Mercedes might be involved in the crime).)

       Neither witness was able to tell Hayes that the person who robbed the store came

in the Mercedes. (1 Tr. 51.) However, Safranski was able to get the license plate number

as the vehicle left the store, and Retler told Hayes that there was some sort of tape on the

driver’s side of the front bumper of the Mercedes. (1 Tr. 61.)

       Hayes relayed the information he received from Safranski and Retler to HPD

dispatch. (1 Tr. 52-53.) Hartford dispatch put out an “an armed robbery in progress” at the


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Verizon store on Sumner Street and that a vehicle involved was a tan Mercedes with license

plate number 308-VYP. (1 Tr. 5.) At approximately 11:45 to 11:50 a.m., Village of Slinger

Police Officer Marshal Sutter, a 19 year veteran, heard the announcement of a robbery at

a Verizon Store on Highway 60 in the City of Hartford. (1 Tr. 4-5.) The dispatch advised it

was believed that the vehicle involved was a tan or beige Mercedes-Benz with plates similar

to 308 Victor Young Paul or VYP and two occupants. (1 Tr. 5, 9.) W ithin approximately two

minutes Officer Sutter saw the vehicle.        (1 Tr. 5.)   He advised the Hartford Police

Department and the W ashington County Sheriff of his observation and that he was behind

the vehicle. (1 Tr. 6.) Officer Sutter noticed a lot of movement by the passenger who looked

like “he was doing something with underneath the seat; moving his hand and arms a lot.”

(1 Tr. 6, 10.) At the request of the Hartford Police Department, Officer Sutter stopped the

vehicle and treated it as a high-risk felony stop based on the Hartford dispatcher stating it

was involved in an armed robbery and the possibility that the occupants may be armed , too.

(1 Tr. 7.) Officer Sutter and several other officers drew their guns and pointed them toward

the male and female occupants of the vehicle. (1 Tr. 7, 9.) The occupants were ordered out

of the vehicle, ordered to get on the ground, handcuffed and separated. (1 Tr. 11, 12.)

        The parties agree that there was reasonable suspicion justifying a Terry 2 stop of the

Mercedes. Reasonable suspicion requires only a particularized and objective basis for

suspecting legal wrongdoing. United States v. Williams, 731 F.3d 678, 683 (7th Cir. 2013).

A warrantless arrest, however, requires probable cause to believe that a crime has been

committed by the person being seized. Gerstein v. Pugh, 420 U.S. 103, 111-12, 95 S. Ct.

854 (1975).


2 Terry v. Ohio, 392 U.S. 1 (1968).

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       The question here is whether probable cause for arrest existed. Regardless of

whether officers formally informed Howard or Bean that they were under arrest, the court

finds that they were arrested and in custody when they were handcuffed and placed in the

squad cars. As stated by Magistrate Judge Gorence,

               A law enforcement officer has probable cause to make an arrest “when
       the facts within the officer’s knowledge and of which the officer has
       reasonably trustworthy information are sufficient to warrant a prudent person
       in believing the suspect has committed or is committing an offense.” United
       States v. Schaafsma, 318 F.3d 718, 722 (7th Cir. 2003) (quoting United
       States v. Sawyer, 224 F.3d 675, 678-79 [7th Cir. 2000]) (internal quotation
       marks omitted). “Probable cause requires only a substantial chance of
       criminal activity, not an actual showing of such activity.” Id. (citing Illinois v.
       Gates, 462 U.S. 213, 244 n.13 [1983]). Mere suspicion is not enough.
       Nevertheless, “probable cause ‘need not be based on evidence sufficient to
       support a conviction, nor even a showing that the officer’s belief is more likely
       true than false.’” Id. (quoting United States v. Burrell, 963 F.2d 976, 986 [7th
       Cir. 1992]). The determination of whether probable cause exists in a particular
       situation involves examining the totality of the circumstances in a common
       sense manner. Sawyer, 224 F.3d at 679; see also, Illinois v. Gates, 426 U.S.
       213, 238 (1983).

(Doc. 108 at 10-11.) This court adds that the relevant inquiry “is not whether specific

conduct is innocent or guilty, but the level of suspicion attaching to particular kinds of

noncriminal acts” in the totality of the circumstances. United States v. Burrell, 963 F.2d 976,

986 (7th Cir. 1992) (internal quotation marks omitted).

       Magistrate Judge Gorence believed that the officers lacked probable cause to arrest

Howard based on the totality of the circumstances. She thought the facts insufficient to

establish a substantial chance that the occupants of the vehicle were accessories to the

Verizon robbery, pointing to the lack of any witness statement that the robber had come to

the store in the Mercedes, that the robber did not get into the vehicle after the robbery, that




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neither Bean nor Howard matched the physical description of the robber, and that no

evidence at the vehicle stop tied them to the robbery.

       This court disagrees. For aiding and abetting an accomplice need only take an

affirmative act in furtherance of the offense with the intent of facilitating the offense.

Rosemond v. United States, 134 S. Ct. 1240, 1245 (2014). Aiding and abetting a robbery

crime can occur through assisting in flight from the crime. See United States v. Martin, 749

F.2d 1514, 1518 (11th Cir. 1985). Here, the officers had sufficient reasonably trustworthy

information to cause a prudent person to believe that Howard and Bean were aiding and

abetting the armed robbery. Reasonable suspicion may have been aroused simply by the

presence of the Mercedes in front of the store for an extended period of time, with the

occupants simply watching the Verizon store rather than getting out and entering a store in

the complex. The conduct of the vehicle’s occupants was enough to draw the attention of

Safranski and Retler, so much so that Safranski recalled the license plate which was

displayed in the windshield and Retler noticed the tape on the car’s bumper. But two

important facts raise the circumstances to probable cause: the precise timing of the car’s

activity around the armed robbery and how the car sped off at a high rate of speed just after

the armed robber ran past it. Police relied not on the mere presence of the Mercedes but

the actions of the two occupants in watching the store, the uncanny timing of the car’s

movement to the back of the store just before the robber appeared from the back of the

store, the car speeding off right after the robbery and Officer Sutter’s observations of the car

and its occupants that confirmed radio dispatches, within minutes of the robbery. That the

armed robber did not get in the vehicle and that Howard and Bean did not match the

description of the robber do not draw into question whether reasonably trustworthy


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information existed to cause a prudent person to believe that Howard and Bean were

accomplices.

       In Schaafsma, probable cause existed when a suspected drug distributor meeting an

undercover officer at a Hooters restaurant told the officer that he was brokering the deal for

someone else, said that his buyer was waiting in the parking lot to take the illegal pills, and

gestured at a blue Toyota with a man (Schaafsma) sitting alone inside. As the distributor

was placed under arrest the Toyota left the parking lot at a brisk speed. The Seventh Circuit

stated that the facts led “to the clear conclusion that the agents had probable cause to arrest

Schaafsma as he tried to leave the Hooters lot.” 318 F.3d at 722. The court recognized that

“[w]hile mere presence at the scene of a crime is not enough to establish probable cause,

we know that it is generally accepted that ‘flight can be strong evidence of guilt.’” Id. The

officers had flight, plus the dealer’s reference to his buyer in the lot. The court found the

district court’s grant of a motion to suppress “not only puzzling, but wrong,” stating that it had

no trouble concluding that probable cause existed. Id.

       In Burrell, the Seventh Circuit pointed to the need for some connection between the

defendant and the alleged criminal activities. 963 F.3d at 987. It found such a connection

in that case when a defendant (Henry) drove a car arriving near the site of a planned drug

transaction almost immediately after one of the known participants arrived, and he stayed

in his car watching the drug purchaser’s van. The court stated that a “reasonably prudent

person could conclude that Henry was involved in the drug transaction.” Id.

       Though the armed robber in the present case did not reference the occupants of the

Mercedes in any way, the exquisite timing of the Mercedes’s activity and its flight created

a close link between the occupants of the Mercedes and the armed robber. The occupants


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of the Mercedes acted suspiciously by simply sitting in the car, watching the Verizon store

and never exiting to patronize any shop in a strip mall. The Mercedes, with two occupants,

arrived shortly before the armed robber. Then, immediately after it drove to the back of the

store, the armed robber entered the back of the store. And right after the armed robber ran

past the Mercedes the car zoomed off at a high rate of speed. In the totality of the

circumstances a reasonably prudent person would believe that the occupants in the

Mercedes were acting in conjunction with the armed robber as a decoy or in some other

aiding and abetting manner.

                                    INEVITABLE DISCOVERY

        Howard contends that if officers lacked probable cause to arrest him, much of the

evidence obtained thereafter is “fruit of the poisonous tree” and inadmissible under Wong

Sun v. United States, 371 U.S. 471, 83 S. Ct. 407 (1963); United States v. Budd, 549 F.3d

1140, 1144 (7th Cir. 2008).

        Naqur Bean and Howard were placed in separate rooms for interrogation at the

Hartford Police Department. Bean was placed in the booking room and was approached

initially by HPD Detective Erik Engebretsen, who read her Miranda 3 rights and asked if she

understood them. Bean stated that she did and did not want to answer any questions, so

Engebretsen stopped questioning her. (2 Tr. 6.) However, Bean did not request an

attorney.

        Engebretsen then spoke with Howard in the interview room attached to the booking

room. (2 Tr. 6-7.) Engebretsen read Howard his Miranda rights. (1 Tr. 21, 2 Tr. 7.)

Eventually, Howard provided statements and consented to a search of his cell phone (which


3 Miranda v. Arizona, 384 U.S. 436 (1966).

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the HPD had in its possession, as it was left in the Mercedes) and vehicle; he signed written

consent forms for both searches. (1 Tr. 74-75, 108-09; 2 Tr. 8.) Howard admitted to being

involved in the Verizon robbery and indicated that Bean had driven him because he did not

have a valid driver’s license. Howard implicated a man named Dell (Londell King) as the

armed robber. (See 1 Tr. 78.)

        Howard expressed concern for Bean and asked to speak with her. (2 Tr. 13, 24, 45.)

Engebretsen or HPD Sergeant James Zywicki may have told Howard that because they

were still investigating the crime, Bean was not free to leave at that point. (2 Tr. 24-25.)

One of the officers may have said that if Bean provided corroborating information to

Howard’s story that it was possible she could go home that night. (2 Tr. 26, 45.)

        Engebretsen then brought Bean into the booking room.4 (2 Tr. 25-26.) The officers

allowed Howard to speak with her face-to-face in close proximity for ten or fifteen seconds.

(2 Tr. 12, 26-27, 48-49, 56-57, 69-70.) Howard informed Bean that he had already told the

truth about what had happened at the Verizon store and that she did not have to tell the

officers that she and Howard had gone to Hartford to eat. (2 Tr. 13.) Engrebretsen and

Zywicki stated under oath that they did not instruct Howard to speak with Bean. (2 Tr. 46,

57.)

        Engebretsen then re-advised Bean of her Miranda rights and asked if she would be

willing to answer his questions. She said yes and proceeded to implicate herself and

Howard in the Verizon store robbery. (1 Tr. 79-80; 2 Tr. 13-14, 37.) She said that she and

Howard acted as a lookout. (2 Tr. 14.)




4 At som e point Howard had m oved to the booking room . (See Tr. 53.)

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       Zywicki would not have allowed Howard and Bean to speak if Howard had not

requested it. (2 Tr. 58.) Allowing suspects to confer is not common practice at the HPD.

(2 Tr. 13, 25.)

       After Howard’s and Bean’s statements on April 4, 2014, Londell King was arrested

and interviewed, ultimately giving the police incriminating information about Howard and

Bean. (1 Tr. 80; 2 Tr. 32.)

       Prior to the events of April 4, 2014, local police and the FBI were already investigating

a string of cell phone store robberies in the Milwaukee area. (1 Tr. 92; 2 Tr. 89-90, 115.)

At that point, the only evidence linking Howard to the spree was information from a

cooperating state defendant named Aaron Thomas, who claimed to have brought stolen cell

phones to Howard’s Milwaukee home following a January 2014 robbery of a RadioShack.

(2 Tr. 117, 131.) A search of Howard’s residence in January 2014 had yielded no evidence

of crime. (2 Tr. 131.)

       On April 5, 2014, HPD Detective Richard Thickens assisted in executing a search

warrant at Howard’s residence (1 Tr. 83, 2 Tr. 73), finding two items of evidence linking

Howard to other cell-phone-store robberies (2 Tr. 124, 140). During the search, in the early

afternoon of April 5, HPD Detective Richard Thickens was notified by a dispatcher that

Howard had contacted HPD and wanted to talk with a detective about his case. (1 Tr. 83,

90; 2 Tr. 73.)

       Thickens proceeded to the W ashington County Jail, where Howard was held, arriving

at about 4:30 p.m. (2 Tr. 74.) Thickens then conducted another interview of Howard.

Thickens had not requested to speak with Howard; the interview occurred following

Howard’s request to speak with an HPD detective. (1 Tr. 84.) Thickens reminded Howard


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of his Miranda rights. (1 Tr. 90; 2 Tr. 76.) Howard stated that over the previous several

months he had been involved in the sale of cell phones after purchasing phones from Dell

and someone named Robert Bishop. (1 Tr. 85; 2 Tr. 76.)

       Magistrate Judge Gorence sufficiently set forth the following applicable law:

               “[T]he exclusionary rule reaches not only primary evidence obtained as
       a direct result of an illegal search or seizure, but also evidence later
       discovered and found to be derivative of an illegality or ‘fruit of the poisonous
       tree.’” United States v. Budd, 549 F.3d 1140, 1144 (7th Cir. 2008) (alteration
       in original) (quoting Segura v. United States, 468 U.S. 796, 804 [1984])
       (internal quotation marks omitted). Thus, evidence obtained as a result of an
       illegal arrest is fruit of the poisonous tree and must be excluded unless the
       government “can establish by a preponderance of the evidence that the
       information ultimately or inevitably would have been discovered by lawful
       means.” Nix v. W illiams, 467 U.S. 432, 444 (1984); see also Swift, 220 F.3d
       at 507.
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                Evidence is not “‘fruit of the poisonous tree’ simply because it would not
       have come to light but for the illegal actions of the police.” Wong Sun, 371
       U.S. at 487-88. Rather, the question is “whether, granting establishment of
       the primary illegality, the evidence . . . has been come at by exploitation of
       that illegality or instead by means sufficiently distinguishable to be purged of
       the primary taint.” Id. at 488 (quoting Maguire, Evidence of Guilt, 221 [1959]).

(Doc. 108 at 18-19.) To determine if a statement is sufficiently attenuated from an illegal

taint to be admissible, the court assesses (1) the voluntariness of the statement; (2) the

temporal proximity of the arrest and statement; (3) the presence of intervening

circumstances; and (4) the purpose and flagrancy of the official misconduct. Brown v.

Illinois, 422 U.S. 590, 603-04, 95 S. Ct. 2254 (1975).

       The court concludes that Howard’s statement to Thickens on April 5, 2014, was

sufficiently distinguished from the arrest to be purged of any taint. Howard initiated the

contact with the HPD, with no pressure to do so by law enforcement. The statement was

voluntary.   Had Howard not called the HPD, Thickens would not have traveled from




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Milwaukee to the W ashington County Jail to meet with him. Howard’s call to the HPD

occurred the day after his arrest and after being transported from HPD headquarters to the

W ashington County Jail in the custody of the sheriff; the break in time and custodian show

a meaningful separation to purge any taint. And even after initiating the contact, Howard

had several hours to reconsider talking with an HPD detective. Thickens received the

message from dispatch in the early afternoon but did not arrive at the jail until around 4:30

p.m., and Thickens reminded Howard of his Miranda rights. Finally, any police conduct in

relation to the arrest was not flagrant. Reasonable minds may differ on the probable-cause

determination, and, at the very least, it was a close call in the field, under time-pressure.

       In addition, the court concludes that Bean’s confession is not fruit of the poisonous

tree. Howard contends that Bean’s statement implicating him came about as a direct result

of his illegal detention and encouragement to confess while he was being held at the police

station. The government responds that Howard asked to speak with Bean, that Bean chose

to implicate herself and Howard in the robbery, and that Howard cannot assert Bean’s

constitutional rights.   The parties offer conflicting views of whether the police or the

defendant engineered the meeting between Bean and the defendant that preceded Bean’s

confession.

       Bean’s initial refusal to talk to police about the robbery and maintenance of that

silence for several hours reasonably suggests that Howard’s encouragement directly led to

her confession. But Howard chose to speak with Bean. The HPD officers would not have

allowed the two suspects to interact had Howard not requested it. Even if it is assumed that

Howard’s arrest was without probable cause, Bean’s statement at HPD headquarters




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implicating Howard was not obtained by HPD’s exploitation of that illegality. Howard’s

decision to speak with Bean caused the latter’s statement to be sufficiently attenuated from

any illegality.

        In light of these rulings, the court sees no need to address whether law enforcement’s

investigation inevitably would have led to Howard based on information from the internet,

Robert Bishop, and other suspects.

                                        CONCLUSION

        For the reasons stated above,

        IT IS ORDERED that the magistrate judge’s recommendation (Doc. 108) is rejected

as to the probable cause issue and adopted as to the inevitable discovery issue, and the

motion to suppress (Doc. 18) is denied.

        IT IS FURTHER ORDERED that an in-person scheduling conference (with

defendants present) is set for February 29, 2016, at 11:00 a.m., to set further proceedings

in the case.

        Dated at Milwaukee, W isconsin, this 26th day of February, 2016.

                                                          BY THE COURT

                                                          /s/ C.N. Clevert, Jr.
                                                          C.N. CLEVERT, JR.
                                                          U.S. DISTRICT JUDGE




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